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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

________________________________________
                                                     )
UNITED STATES OF AMERICA, et al.,                    )
ex. rel. TODD LANGER,                                )
                                                     )
       Plaintiffs,                                   )
                                                     )
v.                                                   )      Civil Action No. 21-cv-11293-RWZ
                                                     )
ZIMMER BIOMET HOLDINGS, INC.,                        )
                                                     )
      Defendant.                                     )
________________________________________             )

     DEFENDANT ZIMMER BIOMET HOLDINGS, INC.’S MOTION FOR RULE 11
                           SANCTIONS

       Defendant Zimmer Biomet Holdings, Inc. (“Zimmer Biomet”) moves pursuant to Fed. R.

Civ. P. 11 to sanction Relator Todd Langer and Relator’s counsel, Rebekah L. Bailey, Grace I.

Chanin, Matthew H. Morgan, Anthony C. Munter, and David K. Colapinto on the grounds that

they filed and have failed to voluntarily dismiss an Amended Complaint premised on false

statements. Sanctions are warranted as Relator’s repeated false statements in filings made under

the pains and penalties of perjury go to the core of Relator’s case and directly influenced this

Court’s analysis in its decision on the Motion to Dismiss. Zimmer Biomet has conferred with

counsel for the Relator, who oppose the relief requested in this motion.

       WHEREFORE, for the reasons set forth in the accompanying memorandum of law,

Zimmer Biomet respectfully requests that this Court dismiss the Amended Complaint with

prejudice and provide Defendant with additional relief as the Court deems appropriate.
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                             REQUEST FOR ORAL ARGUMENT
       Pursuant to Local Rule 7.1(d), Zimmer Biomet requests oral argument and a hearing on

this Motion in an effort to further assist the Court in its determination.

                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)
       Undersigned counsel certifies that a true copy of the above document was served upon

Relator’s counsel on December 13, 2024. I have also conferred with counsel for Plaintiff-

Relator on December 18, 2024 in a good faith attempt to resolve or narrow the issues raised in

this motion.


Dated: January 6, 2025                                  Respectfully submitted,
                                                        /s/ Allison J. Caplis
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                                                        Counsel    for    Zimmer
                                                        Biomet Holdings, Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 6, 2025 I electronically filed the foregoing document with

the Clerk of Court using the CM/ECF system, which sent notification of the filing to all counsel

of record.


                                                     /s/ Allison J. Caplis
